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                                                        United States District Court
                                                        Central District of California
                                                             **AMENDED**
 UNITED STATES OF AMERICA vs.                                                Docket No.            CR 98-556-GW                          JS 3

 Defendant           JEFFREY JAMES DENNIS                                    Social Security No. 2         1   4   7
 akas:                                                                       (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH    DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         01   11    2021

  COUNSEL                                                           Michael D. Weinstein, DFPD
                                                                            (Name of Counsel)

    PLEA             U GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                               CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          18 U.S.C. § 371 CONSPIRACY; 18 U.S.C. § :924(c) USE OR CARRYING OF FIREARM DURING CRIME OF
          VIOLENCE as charged in Count of the Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of: TIME SERVED.


Defendant shall pay restitution in the total amount of $13,674 to victims as set forth in a separate victim list prepared by the probation
office which this Court adopts and which reflects the Court's determination of the amount of restitution due to each victim. The victim
list, which shall be forwarded to the fiscal section of the clerk's office, shall remain confidential to protect the privacy interests of the
victims.

The defendant Jeffrey James Dennis, and Darren Kevin Hunter, his convicted co-participant will be held jointly and severally liable
for the total amount of restitution.

During the period of incarceration, the defendant shall make nominal quarterly payments of not less than $25. Upon commencement
of supervised release, the defendant shall make nominal monthly payments of not less than $25 throughout the period of supervision.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Jeffrey James Dennis, is hereby
committed on Counts 1 through 5 of the Indictment to the custody of the Bureau of Prisons to be imprisoned for a term of TIME
SERVED.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of five years under the following
terms and conditions.

This term consists of three years on each of Count 1, 3, 5 and five years on each of Counts 2 and 4, all such terms to run concurrently:
!) The defendant shall comply with the rules and regulations of the U.S. Probation Office and General Order 318; 2) The defendant
shall make the above-ordered restitution payments. If he fails to make any scheduled payment, the defendant shall provide to the
Probation Officer an accounting of his income and expenditures for the period in question, which shall be substantiated by the receipts;
3) The defendant shall participate in outpatient substance abuse treatment and submit to drug and alcohol testing, as instructed by the
Probation Officer. The defendant shall abstain from using illicit drugs, alcohol, and abusing prescription medications during the period
of supervision; 4) If the amount of mandatory assessment imposed by this judgment remains unpaid at the commencement of the term
of community supervision, the defendant shall pay such remainder as directed by the Probation Officer; 5) The defendant shall not

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obtain or possess any driver's license, Social Security number, birth certificate, passport or any other form of identification without
the prior written approval of the Probation Officer; further, the defendant shall not use, for any purpose or in any manner, any name
other than his true legal name.

It is further ordered that the defendant shall pay to the United States a special assessment of $500.


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




             January 11, 2021
             Date                                                                       HON. GEORGE H. WU, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                                        Clerk, U.S. District Court



             January 11, 2021                                                 By        /s/ Javier Gonzalez
             Filed Date                                                                 Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                    STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                     While the defendant is on probation or supervised release pursuant to this judgment:

 1.    The defendant must not commit another federal, state, or local crime;                  9.    The defendant must not knowingly associate with any persons engaged in criminal
 2.    The defendant must report to the probation office in the federal judicial                    activity and must not knowingly associate with any person convicted of a felony
       district of residence within 72 hours of imposition of a sentence of probation               unless granted permission to do so by the probation officer. This condition will
       or release from imprisonment, unless otherwise directed by the probation                     not apply to intimate family members, unless the court has completed an
       officer;                                                                                     individualized review and has determined that the restriction is necessary for
 3.    The defendant must report to the probation office as instructed by the court                 protection of the community or rehabilitation;
       or probation officer;                                                                  10.   The defendant must refrain from excessive use of alcohol and must not purchase,
 4.    The defendant must not knowingly leave the judicial district without first                   possess, use, distribute, or administer any narcotic or other controlled substance,
       receiving the permission of the court or probation officer;                                  or any paraphernalia related to such substances, except as prescribed by a
 5.    The defendant must answer truthfully the inquiries of the probation officer,                 physician;
       unless legitimately asserting his or her Fifth Amendment right against self-           11.   The defendant must notify the probation officer within 72 hours of being arrested
       incrimination as to new criminal conduct;                                                    or questioned by a law enforcement officer;
 6.    The defendant must reside at a location approved by the probation officer              12.   For felony cases, the defendant must not possess a firearm, ammunition,
       and must notify the probation officer at least 10 days before any anticipated                destructive device, or any other dangerous weapon;
       change or within 72 hours of an unanticipated change in residence or                   13.   The defendant must not act or enter into any agreement with a law enforcement
       persons living in defendant’s residence;                                                     agency to act as an informant or source without the permission of the court;
 7.    The defendant must permit the probation officer to contact him or her at any           14.   The defendant must follow the instructions of the probation officer to implement
       time at home or elsewhere and must permit confiscation of any contraband                     the orders of the court, afford adequate deterrence from criminal conduct, protect
       prohibited by law or the terms of supervision and observed in plain view by                  the public from further crimes of the defendant; and provide the defendant with
       the probation officer;                                                                       needed educational or vocational training, medical care, or other correctional
 8.    The defendant must work at a lawful occupation unless excused by the                         treatment in the most effective manner.
       probation officer for schooling, training, or other acceptable reasons and
       must notify the probation officer at least ten days before any change in
       employment or within 72 hours of an unanticipated change;




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             The defendant must also comply with the following special conditions (set forth below).


                 STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts, including
 any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




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